Case 2:17-mj-00562-RAJ-LRL Document 66 Filed 11/27/18 Page 1 of 13 PageID# 352



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division


 UNITED STATES OF AMERICA,

               Plaintiff,

 V.                                                  CRIMINAL ACTION NO.2:17-mj-562

 ERIC BRIAN BROWN,

               Defendant.


                            MEMORANDUM OPINION AND ORDER

        Before the Court is the Government's Motion to Extend Defendant's Mental Health


 Treatment and Eric Brian Brown's("Defendant") Oral Motion for a hearing on the substantial

 probability that Defendant will regain competency. For the reasons set forth below, the

 Govemment's Motion is GRANTED,and Defendant's Oral Motion is DENIED.

                      I.    FACTUAL AND PROCEDURAL HISTORY


        On November 7, 2017, Defendant was charged with kidnapping in violation of 18 U.S.C.

 § 1201(a)(1),(2). ECF No. 3. On December 1, 2017, the Government moved for a psychiatric

 examination to determine Defendant's competency to stand trial. ECF No. 15. The Court

 granted this motion on December 15, 2017. ECF No. 17. On January 23,2018, the Bureau of

 Prison's("BOP")clinician filed their findings. ECF No. 20. On January 25, 2018, based on the

 clinician's findings, the Court found Defendant incompetent to stand trial and that he should be

 committed to the custody of the Attorney General for further evaluation for no more than four

 months. ECF No. 24.


        On May 31,2018, Defendant filed an emergency motion to preliminarily enjoin the

 clinicians at the clinic in Butner, North Carolina from involuntarily medicating Defendant. ECF


                                                 1
Case 2:17-mj-00562-RAJ-LRL Document 66 Filed 11/27/18 Page 2 of 13 PageID# 353



No. 26. On June 4,2018,the Court denied this motion for lack of ripeness but also ordered that

any forcible medication be stayed until the Court determines its appropriateness. ECF No. 30.

On June 12, 2018, Defendant filed a new motion to enjoin forcible medication after the clinic in

Butner, North Carolina held a Harper hearing and determined it was necessary to involuntarily

medicate Defendant to avoid harm to himself or others. ECF No. 34. On June 22, 2018, after a

hearing, the Court denied this motion, finding that the BOP may forcibly medicate Defendant,

and lifted the June 4,2018 stay. ECF No. 45.

         On July 13, 2018, the BOP's psychiatric report confirmed Defendant's psychiatric

incompetency. ECF No. 46. The BOP recommended Defendant be further evaluated for another

four months to restore his competency. ECF No. 46 at 11. On September 18, 2018, the

Magistrate Judge ordered nunc pro tune, June 22, 2018, that Defendant be committed for an

additional four months because there was a substantial probability that he would regain

competence under § 4241(d)(2)(A). ECF No. 48. That commitment terminated on October 20,

2018. ECF No. 56 at 3. The BOP filed another psychiatric report dated October 22, 2018

addressed to the Magistrate Judge, which was filed before this Court on November 9, 2018,

asking for an additional 120 days to restore Defendant's competence since he has been

improving with his current medication but has not fully regained competency.' ECF No. 59.

         On October 19, 2018, Defendant filed a motion for a status conference to request a

 hearing to challenge the feasibility of Defendant regaining competence after an additional 120

days.^ Id. at 3-6. A hearing was held on November 13, 2018. ECF No. 60. The Government

filed their Motion to Extend Defendant's Mental Health Treatment on November 6, 2018. ECF



'The Court notes that the BOP's letter to the Magistrate Judge was also sent to the attorneys of both parties, but
neither party informed the Court ofthis new report until the day ofthe hearing.
^ To the extent the Court has not ruled on this motion, the Court notes that it has granted this motion since it did hold
a hearing on November 13, 2018.
Case 2:17-mj-00562-RAJ-LRL Document 66 Filed 11/27/18 Page 3 of 13 PageID# 354



No. 58. Defendant's counsel opposed the motion during the November 13, 2018 status

conference and has since filed a brief letter in opposition. ECF No. 62. The Government then

filed its reply on November 20, 2018. ECF No. 63. Given that Defendant has adequately stated

his arguments against the Government's motion, the Court finds that the motion is ripe for

disposition.

                                  II.    LEGAL STANDARD


        Section 4241 of Title 18 ofthe United States Code governs the procedure used for

determining a defendant's competency. Specifically, § 4241(d) provides that a court can order a

defendant to be committed to the custody ofthe Attorney General and that the Govemment will

hospitalize a defendant:

                    (1)for such a reasonable period of time, not to exceed four
                    months, as is necessary to determine whether there is a
                    substantial probability that in the foreseeable future he will
                    attain the capacity to permit the proceedings to go forward;
                     and
                    (2)for an additional reasonable period oftime until—
                      (A)his mental condition is so improved that trial may
                       proceed, if the court finds that there is a substantial
                       probability that within such additional period of time he
                       will attain the capacity to permit the proceedings to go
                        forward; or
                       (B)the pending charges against him are disposed of
                       according to law;
                     whichever is earlier.

§ 4241(d). While the Attorney General cannot hold a defendant for longer than four months

 absent a court order extending the time, it is harmless error if a court enters such an order shortly

 after the expiration of the original order committing defendant. United States v. Magassouba,

544 F.3d 387, 409-10(2d Cir. 2008)(finding harmless error for hospitalizing a defendant under

§ 4241 for three weeks after the initial four months expired); see United States v. Barfield, 969
Case 2:17-mj-00562-RAJ-LRL Document 66 Filed 11/27/18 Page 4 of 13 PageID# 355



F.2d 1554, 1556-57(4th Cir. 1992)(applying the harmless error standard in the context of

violations related to competency hearings under § 4241).

                                     III.    DISCUSSION

A. Hearing under § 4241(d)(2)(A)

       The parties dispute whether § 4241(d)(2)(A)requires the Court to hold a hearing to

determine if Defendant should be hospitalized for an additional 120 days or if the Court can rely

on the psychiatric report alone to determine if there is a substantial probability of Defendant

regaining competency.

       When interpreting a statute, courts generally believe that'"[wjhere Congress includes

particular language in one section of a statute but omits it in another section of the same Act, it is

generally presumed that Congress acts intentionally and purposely in the disparate inclusion or

exclusion.'" United States v. Serafini, 826 F.3d 146, 149-50(4th Cir. 2016)(quoting Russello v.

United States, 464 U.S. 16, 23(1983)). Moreover, courts "must try to give every word in the

statute meaning to avoid rendering its terms superfluous." Espinal-Andrades v. Holder,111 F.3d

163, 168 (4th Cir. 2015)(citing Discover Bank v. Vaden, 396 F.3d 366, 369(4th Cir. 2005)).

       Section 4241 clearly contemplates that courts shall hold hearings in specific instances.

Courts should hold a hearing to make the initial determination of competency. § 4241(a).

Another hearing is required ifthe director of the medical facility determines that the defendant is

no longer incompetent. § 4241(e). However,the statute does not mention that a hearing is

required for any of the commitment provisions in § 4241(d). That subsection only references the

initial § 4241(a) hearing. See § 4241(d). Given the structure of the statute, if Congress intended

the Court to hold a hearing each time it had to make a finding ofsubstantial probability that

Defendant would attain competency, it would have explicitly stated so. Furthermore, if every
Case 2:17-mj-00562-RAJ-LRL Document 66 Filed 11/27/18 Page 5 of 13 PageID# 356



determination under § 4241 requires a hearing then all the mentions of hearings in the statute

would be superfluous. Therefore, § 4241(d) does not require the Court to hold a hearing to

determine if"there is a substantial probability that within such additional period oftime

[Defendant] will attain the capacity to permit the proceedings to go forward." Id.

       Moreover, courts in this Circuit have made their findings under § 4241(d)(2)(A) by

relying on the BOP's psychiatric report and not holding a hearing; instead, courts hold a hearing

after the psychiatric report has noted no significant progress in defendant's competency. See

United States v. Kokoski, 82 F.3d 411, at *3(4th Cir. 1996)(unpublished table decision)(holding

that district court validly found a substantial probability under § 4241(d)(2)(A) after it "relied on

forensic reports written by qualified personnel stating that there was a substantial probability of

future competency ...[and] indicated that[the defendant's] condition was improving."); United

States V. Kirby, No. 2:90-64, 2014 WL 3778920, at *2-*3(S.D.W. Va. July 31, 2014)("The

court will provide either party an opportunity to be heard, at the end ofthe applicable time period

specified in section 4241(d), respecting the further action, if any, to be taken in the case.");

United States v. Grumpier, No. 5:12-cr-173, 2013 WL 6843009, at *l-*2(E.D.N.C. Dec. 27,

2013)(stating that the BOP staff submitted a report finding that the defendant has a substantial

probability of regaining competency, and "[t]he court accordingly granted FMC Butner's request

for an additional 120-day commitment for continued evaluation and competency restoration

treatment" and holding a hearing after two commitment orders had expired and the facility had

determined there had not been progress in defendant's competency); cf. United States v. Murray,

No. 7:04-cr-123, 2011 WL 649934, at *2-*4(E.D.N.C. Feb. 10,2011)(finding a substantial

probability after holding a hearing because the Government's repeated release and re

commitment of the defendant to federal medical facilities and the fact that defendant had been
Case 2:17-mj-00562-RAJ-LRL Document 66 Filed 11/27/18 Page 6 of 13 PageID# 357



off of his medication for three months); but see United States v. Colvin, No. 5:15-cr-211, 2017

WL 432791, at *l-*2(E.D.N.C. Jan. 31,2017)(relying on the psychiatric report to find a

substantial probability because neither party objected to its findings).

       The Court also recognizes that the Magistrate Judge had already ordered Defendant be

committed under § 4241(d)(2)(A). See ECF No. 48. The statute contemplates that a defendant

can be committed "for an additional reasonable period oftime" but does not have a set maximum

time period. § 4241(d)(2). Under this subsection "an additional reasonable period of time" is

"some reasonable, but statutorily undefined, period of time. Kokoski, 82 F.3d 411, at *1. The

limit is that the Court will not further commit the defendant once it cannot "find[] that there is a

substantial probability" that he will regain competency. § 4241(d)(2)(A). As such, the Court has

the power to commit Defendant under § 4241(d)(2)(A)just as the Magistrate Judge did on

September 17, 2018.

       Defendant argues that not holding an evidentiary hearing would deprive him of due

process based on his interest in the length of his confinement under Jackson v. Indiana^ 406 U.S.

715. 731 (1972). ECF No.62 at 3. Defendant argues that without a hearing, a § 4241(d)(2)(A)

determination would deprive him of"a meaningful opportunity to be heard and a meaningful

opportunity to tests the government's evidence." Id. But Section 4241 was enacted in response

to Jackson, and the due process offered under this statutory scheme is sufficient. See United

States V. Magassouba,544 F.3d 387,403(2d Cir. 2008); United States v. General, 278 F.3d 389,

396(4th Cir. 2002); Kokoski, 82 F.3d 411, at *3-*4. Therefore, the hearings under § 4241(a)

and (e)satisfy any due process concerns, and denying any additional hearings does not per se

violate Defendant's due process rights.
Case 2:17-mj-00562-RAJ-LRL Document 66 Filed 11/27/18 Page 7 of 13 PageID# 358



       Defendant also argues that the hearing is his "only means of obtaining the underlying

facts and data upon which the BOP's opinions are based." ECF No.62 at 3. Defendant notes

that when his counsel initially requested documents from the medical facility in Butner, North

Carolina, the BOP denied his request and referred him to FOIA process. Id. The Court does not

opine as to the propriety of the BOP's denial of access to the underlying documents to

Defendant's counsel as that issue is not properly presented. To the extent that the Government

will be using any of the staff at Butner as expert witnesses at a future competency hearing and

such, Defendant may request the underlying documents then. See Fed. R. Crim. P. 16(a)(1)(F),

(G), At this juncture, a hearing does not become necessary simply out of Defendant's desire to

expedite discovery.

       Based on its interpretation ofthe statute and the persuasive precedent, the Court finds that

it does not have to hold a hearing to make its finding under § 4241(d)(2)(A).

B. Substantial Probability

       Defendant and the Government also disagree as to the meaning of"substantial

probability." Compare ECF No.62 at 3—4 with ECF No. 63 at 8—9. Defendant argues that this

phrase means"much more likely than not" or "highly likely to occur." ECF No.62 at 3. In

support, Defendant cites several cases, although none of them directly deal with § 4241. Id. at

3-4. The Government argues it means "any probability worth taking seriously, which could very

well be a probability of less than [fifty] percent." ECF No. 63 at 8-9. The Government relies

on United States v. Loughner {Loughner I), 4:ll-cr-l 187, ECF No. 343(D. Ariz. Sept. 30,

2011), affd,672 F.3d 731,770(9th Cir. 2012).

       "Substantial probability" does not have an agreed upon definition. See Planned

Parenthood Minn., N.D., S.D. v. Rounds, 530 F.3d 724,732 n.4 (8th Cir. 2008)(recognizing the
Case 2:17-mj-00562-RAJ-LRL Document 66 Filed 11/27/18 Page 8 of 13 PageID# 359



unclear meaning ofthe phrase in the context of prevailing on a preliminary injunction); compare

 United States v. Loughner(Loughner IT)^ 672 F.3d 731,769(9th Cir. 2012)(affirming the

district court's determination that the phrase means "any probability worth taking seriously")

 with Adams v. Bartow, 330 F.3d 957, 959(7th Cir. 2003)(noting that expert witness defined the

 phrase as "much more probable than not" in the context of a state statute regarding confining

sexually violent people).

        The phrase "substantial probability" has been defined in other contexts outside of§ 4241.

It has been construed as "highly likely to occur," City ofCarter Lake v. Aetna Cas. & Sur. Co.,

604 F.2d 1052, 1058-59 n.4(8th Cir. 1979)), or "more than a 'reasonable probability'" in the

context of exclusionary clauses of insurance policies. Brosnahan Builders, Inc. v. Harleysville

 Mut. Ins. Co., 137 F. Supp. 2d 517,527(D. Del. 2001)(quoting A/ew Castle Cnty. V. Continental

 Cas. Co., 725 F. Supp. 800, 813(D. Del. 1989)). It can mean "possible ...[with a] probable

result" under the Occupational Safety and Health Act. St. Joe Minerals Corp. v. Occupational

Safety & Health Review Comm 'n, 647 F.2d 840, 847(8th Cir. 1981). The phrase has also been

taken to mean "'less than preponderance but more than a mere possibility'" for a mass tort action

 in the bankruptcy context. In re Joint E. and S. Dist. Asbestos Litig, 129 B.R. 710, 826-27

(E.D.N.Y. 1991), vacated, 982 F.2d 721 (2d Cir. 1992)(quoting In re Agent Orange Prod. Liab.

 Litig, 100 F.R.D. 718,726(E.D.N.Y. 1983)). It has been suggested that the phrase means

"much more probable than not" under a state statute that governs the confinement of sexually

 violent people. Adams,330 F.3d at 959. The United States Court of Appeals for the Fourth

 Circuit("Fourth Circuit") has taken a "substantially certain" standard to mean "highly likely to

occur" in the context of benefit plans. Johnson v. Am. United Life Ins. Co.,716 F.3d 813, 826

(4th Cir. 2013)(quoting City ofCarter Lake,604 F.2d at 1058-59 n.4).



                                                 8
Case 2:17-mj-00562-RAJ-LRL Document 66 Filed 11/27/18 Page 9 of 13 PageID# 360



        However, neither the Fourth Circuit nor any of the district courts within the circuit have

discussed "substantial probability" under § 4241. In fact, the Court could not find any federal

case addressing the definition of"substantial probability" under § 4241,save Loughner. The

statute itself is silent as to the definition ofthis standard.

        The Court therefore looks to the plain meaning of each of these terms. Sibert v. Wells

Fargo Bank, N.A., 863 F.3d 331, 337(4th Cir. 2017)(quoting In re Sunterra Corp., 361 F.3d

257,265 (4th Cir. 2004)). "Probability" refers to "something that is likely," Probability,

Black's Law Dictionary(10th ed. 2014), or something that is "uncertain but more likely than

not." Probability, Oxford English Dictionary (3d ed. 2007). "Substantial" means that

something is "real and not imaginary ... strong, solid and firm," Substantial, Black's Law

Dictionary, or "firmly or solidly established." Substantial, Oxford English Dictionary.

        For comparison,"preponderance of the evidence" is defined as more probable than not.

United States v. Span, 789 F.3d 320,334(4th Cir. 2018)(quoting Concrete Pipe & Prods, of

Cat., Inc. V. Constr. Laborers Pension Trustfor S. Cat., 508 U.S. 602,622(1993)). The

Government argues that "substantial probability" is lower than this standard. ECF No.63 at 8.

On the other end of the spectrum,"clear and convincing evidence" is defined as "highly probable

or reasonably certain." RZS Holdings AW v. PDVSA Petroleos S.A., 598 F. Supp. 2d 762,772

(E.D. Va. 2009)(citing Black's Law Dictionary (8th ed. 2004)). Defendant seems to argue

that "substantial probability" rises to this level. See ECF No.62 at 3-4.

        Setting "substantial probability" below "preponderance of the evidence" would

contravene the plain meaning ofthe words. If"preponderance of the evidence" means that

something is at least probable, then "substantial probability" must be higher than that burden.

Therefore, the Court cannot agree that "substantial probability" should be less than fifty percent.
Case 2:17-mj-00562-RAJ-LRL Document 66 Filed 11/27/18 Page 10 of 13 PageID# 361



 However, the Court does not believe that this standard is equivalent with "clear and convincing

evidence." That standard has been well-established, and if Congress intended to use that

standard, § 4241 would have been written differently.

        Therefore, the Court finds that "substantial probability" under § 4241 falls in between

these two standards. "Substantial probability" means that the chance of competency must be

firmly established and be more likely than not. This does not mean that there must be reasonable

certainty, but it also does not merely allow for any probability. The Court will instead evaluate

the possibility of competency based on whether there is a well-founded basis to support the idea

that Defendant is more likely than not to regain competency.

C. Defendant's Substantial Probability of Competence

        The Court, in its discretion, may rely on the BOP's psychiatric report. Here, the BOP has

filed a report that details Defendant's progress since he has been committed in Butner. Before

receiving any medical treatment. Defendant exhibited various behaviors of severe mental disease

 or defect. See ECF No. 59 at 5. After the Court's review ofthe Harper hearing on June 22,

 2018, and he first began receiving antipsychotic medication. Defendant"was more compliant

 with staff directives. However,[he] did not evidence significant improvement in his mental

 status" until several doses later. Id. at 6. He eventually was able "to engage in meaningful

 conversation and began voicing some desire to advance his legal proceedings," which led to him

 participating in a formal interview with his psychiatrist on September 21, 2018. Id. As a result.

 Defendant has been "transferred from the most secure locked housing unit... to a less

 restrictive, semi-locked housing unit." Id. at 7. Most recently, on October 5, 2018, Defendant

 was allowed more time "outside of his cell and in common areas of the housing unit." Id. The

 reports still notes that Defendant still has "some residual psychotic symptomatology." Id. at 8.



                                                 10
Case 2:17-mj-00562-RAJ-LRL Document 66 Filed 11/27/18 Page 11 of 13 PageID# 362



 He appears to continue have some auditory hallucinations and paranoia. Id. Based on these

 trends, the report states:

                  [Defendant] has evidenced slow yet consistent improvement in his
                  mental status and behavioral functioning. While he remains
                  symptomatic, he has been willing and able to engage in some
                  competency restoration efforts.... Overall, Mr. Brown has
                  evidenced improved mental health functioning but not to such an
                  extent that his competency to stand trail has been restored. Further
                  improvement in [Defendant's] mental status and behavioral
                  functioning is expected with continued treatment with
                  antipsychotic medication.... At this time, it is the opinion of the
                  undersigned evaluator that there is a substantial probability that
                  [Defendant] will demonstrate that he is competent to stand trial
                  [after an additional 120 days].

Id. at 9-10.


        Defendant argues that the Court should not rely on this report because the June 22 report

 also stated that the psychiatrists believed Defendant would have a substantial probability to

 regain competency by the end offour months from then, October 20. EOF No.62 at 2-3. The

 Court disagrees. The task ofthe Court today is to determine if there is a substantial probability

 that Defendant will regain competency four months from October 21, 2018. While the Court

 does consider the fact that Defendant is not competent even though the June 22, 2018 report also

 stated Defendant would be competent by now,the fact that Defendant did not fully regain

competence by October 20, 2018 does not sufficiently rebut the progress laid out in the report.

 Hindsight is 20/20, but that should not unduly skew the Court's review of the October 22 report

 now before it.


         According to the report. Defendant's most recent progress occurred on October 5, 2018,

 with the increase of time in common areas. ECF No. 59 at 7. He was not allowed this amount of

 freedom of movement when he was first admitted to Butner on December 15, 2017 or even when

 the Magistrate Judge issued its order under § 4241(d)(2)(A) on September 18, 2018. Therefore,

                                                   11
Case 2:17-mj-00562-RAJ-LRL Document 66 Filed 11/27/18 Page 12 of 13 PageID# 363



 the Court finds that Defendant has a substantial probability of regaining competency if

 committed a further 120 days. The progress he has shown according to the report provides a

 sufficient factual basis for the Court's finding. Therefore, the Court finds that the report

 provides a well-established basis to support the idea that Defendant is more likely to regain

 competency than not after an additional 120 days.

 D. 5^//Hearing

        Finally, to the extent that Defendant argues that he is entitled to a Sell hearing

 immediately, that is incorrect. The Court originally mled Defendant could be forcibly medicated

 after confirming the BOP's Harper Hearing. See ECF Nos. 44-45. Sell itself specifically noted

 that the Court does not have to delve into the Sell analysis "ifforced medication is warranted for

 a different purpose, such as the purposes set out in Harper related to the individual's

 dangerousness." Sell v. United States^ 539 U.S. 166, 181-82(2003); United States v. Evans,404

 F.3d 227, 235 n.3 (4th Cir. 2005). Because Defendant has already been determined to need

 forcible medication under Harper, the Court need not go through the Sell factors at this time.

                                     IV.    CONCLUSION

        For the reasons stated above, the Court finds that there is a substantial probability that

 Defendant will be able to achieve competency after an additional 120 days of commitment at the

 facility in Butner. The Government's Motion is GRANTED. Defendant's Oral Motion is

 DENIED. The Court ORDERS that Defendant be committed to the medical facility in Butner,

 North Carolina for an additional 120 days, retroactive as of October 21,2018, pursuant to 18

 U.S.C. § 4241(d)(2)(A). Such a commitment will expire on February 18, 2019. The Court

 further ORDERS that within seven days before the expiration of this period (February 11, 2019),

 the director ofthe medical facility at Butner shall advise the Court as to whether or not



                                                  12
Case 2:17-mj-00562-RAJ-LRL Document 66 Filed 11/27/18 Page 13 of 13 PageID# 364



Defendant has successfully regained competence. If Defendant has not attained competency to

proceed in his trial, the Court shall address further remedies pursuant to 18 U.S.C. §§ 4246,

4248, or any other relief, as the Court may find appropriate.




IT IS SO ORDERED.


Norfolk, Virginia
November        2018                                                 Raymond A.JaclUon
           '                                                         United States District Judge




                                                13
